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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

____________________________________
                                           :
RALPH P. BLAKNEY,                          :
           Plaintiff,                      :
                                           :
              v.                           :
                                           :      C.A. No. 12-6300
CITY OF PHILADELPHIA, et al.               :
           Defendants.                     :
                                           :

                                           ORDER

       AND NOW, this ____ day of _____________, 2013, upon consideration of defendants‘

City of Philadelphia, Linda Turner, and Lynn Spiro‘s Motion to Dismiss, it is ORDERED plaintiff‘s

amended complaint is dismissed with prejudice.



                                                          BY THE COURT:


                                                                                       J.
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

____________________________________
                                            :
RALPH P. BLAKNEY,                           :
           Plaintiff,                       :
                                            :
              v.                            :
                                            :       C.A. No. 12-6300
CITY OF PHILADELPHIA, et. al                :
                                            :
              Defendants.                   :
                                            :

  DEFENDANTS CITY OF PHILADELPHIA, LINDA TURNER, and LYNN SPIRO’S
        MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       NOW COME defendants, the City of Philadelphia, Linda Turner, and Lynn Spiro, by

their undersigned attorney, Margaret J. Theranger, Esq., to move for an order dismissing

plaintiff‘s amended complaint with prejudice. Defendants respectfully submit that such relief is

warranted for the reasons set forth in the accompanying memorandum of law.


                                     Respectfully submitted,

                                     CITY OF PHILADELPHIA LAW DEPARTMENT
                                     SHELLEY R. SMITH, City Solicitor
                                     ELIZABETH MATTIONI, Chair, Litigation Group
                                     SUZANNE REILLY, Chief Deputy City Solicitor

                                     /s/ Margaret J. Theranger
                                     MARGARET J. THERANGER
                                     Pa. Attorney ID No. 259166
                                     Assistant City Solicitor
                                     Labor and Employment Unit
                                     1515 Arch Street, 16th Floor
                                     Philadelphia, PA 19102
                                     (215) 683-5183
Date: April 2, 2013




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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

____________________________________
                                                       :
RALPH P. BLAKNEY,                                      :
           Plaintiff,                                  :
                                                       :
                   v.                                  :
                                                       :         C.A. No. 12-6300
CITY OF PHILADELPHIA, et. al                           :
                                                       :
                   Defendants.                         :
                                                       :

                  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                 MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

          Pursuant to Federal Rule of Civil Procedure 12(b)(6), the defendants City of Philadelphia,

Linda Turner, and Lynn Spiro move for dismissal of plaintiff‘s amended complaint with

prejudice. Plaintiff has failed to aver facts that create a plausible claim under Title VII of the

Civil Rights Act of 1964, 42 U.S.C. §§ 2000e-1 et seq., the Pennsylvania Human Relations Act

(―PHRA‖), 43 P.S. §§ 951-963, 42 U.S.C. § 1981, and 42 U.S.C. § 1983.

          I.       STATEMENT OF FACTS

          Plaintiff‘s amended complaint appears to allege that the defendants retaliated against him

and violated his rights to due process and equal protection when he was not reinstated to a

position from which he resigned. Plaintiff, however, avers very few clear facts to support each

claim 1

          A. Plaintiff’s Averments




1
 Defendants dispute plaintiff‘s version of the facts that he does aver, but accept them as true for the purposes of this
motion.



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        Plaintiff, a black male, was hired in July 1988 as the Older Adult Center Director in the

City of Philadelphia‘s Parks and Recreation Department (―Parks and Recreation‖). Amend.

Compl. ¶¶ 6, 12. Plaintiff names three defendants: the City of Philadelphia, Linda Turner, and

Lynn Spiro. Id. at ¶¶ 7-9. Linda Turner is the City‘s Director of Human Resources for Parks and

Recreation and Lynn Spiro is the Director of Older Adult Services for Parks and Recreation. Id.

at ¶¶ 8-9.

        On or about June 6, 2008, Plaintiff filed a charge of race discrimination against

defendants with the Equal Employment Opportunity Commission under Charge No. 530-2008-

0225. Id. at ¶ 13. Plaintiff alleges that he subsequently filed a complaint with the U.S. District

Court for the Eastern District of Pennsylvania under Civil Action no. 10-4237-RB (―First Civil

Action‖) but fails to provide the filing date. Id. at ¶ 14. Plaintiff does aver that he complained of

racial discrimination by Linda Turner and Lynn Spiro in the First Civil Action and that they both

acted as witnesses for the City. Id. at ¶ 26. Plaintiff also avers that the District Court granted

the City‘s motion for summary judgment in the First Civil Action on July 1, 2011. Id. at ¶ 17.

However, plaintiff alleges that the First Civil Action ―ended‖ on or about September, 22 2011.

Id. Plaintiff filed a notice of appeal from the District Court‘s dismissal of his complaint in the

First Civil Action on October 11, 2011. Id. at ¶ 18.

        Prior to the resolution and subsequent appeal of the First Civil Action, in or about

January of 2011, Plaintiff resigned from his position with Parks and Recreation to take care of

his terminally ill mother. Id. at ¶ 15. Plaintiff alleges that he formally notified all defendants

about his mother‘s illness and submitted certification in accordance with the Family Medical

Leave Act. Id. at ¶ 16. On September 26, 2011 Plaintiff ―demanded‖ reinstatement to his

employment with the City of Philadelphia pursuant to Civil Service Regulation 15.031. Id. at ¶




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18. Plaintiff hand delivered a letter to the City‘s Director of Human Resources requesting

reinstatement to his former position (or any other open position) and observed that letter being

faxed to Linda Turner. Id. at ¶ 22. On December 14, 2011 Plaintiff alleges that he hand

delivered another request for reinstatement to the City‘s Human Resources Office and again

observed a copy of his request being faxed to Linda Turner. Id. at ¶ 24. Plaintiff alleges that

Lynn Spiro, his former direct supervisor, was the ―authorized person for approving Plaintiff‘s

reinstatement request‖ but also claims that both Linda Turner and Lynn Spiro were the

―appointing authorized officials responsible for approving Plaintiff‘s reinstatement request.‖ Id.

at¶ ¶ 9, 25. Plaintiff avers that his former position with Parks and Recreation had been vacated

for eight months, that the City and individual defendants knew and was aware of his

reinstatement request, that they failed to respond to plaintiff and ―quickly filled‖ his former

position with another employee after receiving his request. Id. at ¶¶ 20-21, 27. Finally, plaintiff

claims that he was entitled to reinstatement to other comparable positions under Civil Service

Regulation 15.031, but defendants failed to reinstate him to those other comparable positions for

which he was qualified. Id. at ¶ 29.

       B. Civil Service Regulation 15.031.

       Plaintiff relies on Civil Service Regulation 15.031 but does not quote it or attach a copy

to his complaint. Specifically, he alleges that the regulation ―entitles‖ him to reinstatement to his

former position or a comparable position and defendant‘s failure to reinstate him was in violation

of the regulation. Id. Civil Service Regulation 15.031 states

       An employee who has resigned in good standing may be reinstated within
       one year to any position in the City service in the same class, in a
       comparable class, or in a lower class in the same or comparable series of
       classes having substantially the same qualification requirements, skills or
       aptitudes if such reinstatement is approved by the Director and by the
       appointing authority of the department in which the reinstatement is to be



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        made. All employees reinstated following resignation must serve a new
        probationary period of six (6) months.

Reg. 15.031, attached as Exhibit ―1.‖ 2

        C. Plaintiff’s Claims

        Plaintiff brings four counts, not all of which are directed against all defendants. The first

count, for alleged retaliation under Title VII, is directed against the City of Philadelphia. The

second count, for an alleged violation of Section 1981, is against individual defendants Linda

Turner and Lynn Spiro only. The third count, for alleged violation of Plaintiff‘s First and

Fourteenth Amendment rights under Section 1983, is against all defendants. Finally, the fourth

count, for an alleged violation of the PHRA‘s anti-retaliation provision, is brought against the

City of Philadelphia.

        II.       STANDARD OF REVIEW

        A Rule 12(b)(6) motion to dismiss tests the sufficiency of the allegations contained in the

complaint. Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). When considering such a

motion, the court ―accept[s] as true the facts alleged in the complaint and all reasonable

inferences that can be drawn from them. Dismissal under Rule 12(b)(6) . . . is limited to those

instances where it is certain that no relief could be granted under any set of facts that could be

proved.‖ Markowitz v. Northeast Land Co., 906 F.2d 100, 103 (3d Cir. 1990).

        This liberal pleading standard, however, does not excuse plaintiff from adequately stating

claims and supporting those claims with facts consistent with those allegations. Bell Atlantic

Corp. v. Twombly, 550 U.S. 544 (2007). Nor must a court credit ―a complaint‘s ‗bald

assertions.‘‖ Morse v. Lower Merion School Dist., 132 F.3d 902, 906 (3d Cir. 1997) (citing In re

2
  ―[A] court may consider an undisputedly authentic document that a defendant attaches as an exhibit to a motion to
dismiss if the plaintiff‘s claims are based on the document. Otherwise, a plaintiff with a legally deficient claim
could survive a motion to dismiss simply by failing to attach a dispositive document on which it relied.‖ Pension
Benefit Guaranty Corp. v. White Consolidated Indus., Inc., 998 F.2d 1192, 1196-97 (3d Cir. 1993).


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Burlington Coat Factory Securities Litigation, 114 F.3d 1410, 1429-30 (3d Cir. 1997)).

Although a court must consider the pleadings as true when evaluating a motion to dismiss, a

court need not consider a plaintiff‘s bare legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (holding that all civil complaints must contain ―more than an unadorned, the-defendant-

unlawfully-harmed-me accusation‖).

        As the Third Circuit has recognized, this plausibility standard requires the district court to

conduct a two-part analysis of complaints. See Fowler v. UPMC Shadyside, 578 F.3d 203, 210-

11 (3d Cir. 2009). First, courts should separate ―the factual and legal elements of a claim, so that

while the district court must ‗accept all of the complaint's well-pleaded facts as true,‘ it may

―disregard any legal conclusions.‘‖ Id. Second, the court must then determine ―whether the

facts alleged in the complaint are sufficient to show that the plaintiff has a ‗plausible claim for

relief.‘‖ Id. (citing Iqbal, 556 U.S. at 679).

        In the Iqbal decision, the Court explicitly applied Twombly‘s more stringent pleading

standard to other civil claims. Iqbal, 556 U.S. at 669-670. Iqbal made clear that legally

conclusory pleadings, or pleadings whose factual allegations do no more than establish a

possibility of the defendant‘s liability, should not survive a motion to dismiss. Id. at 677-681.

The Court also stated that when analyzing the well-pleaded facts of the complaint for motion to

dismiss purposes, a court must look to the claim at hand and determine if the plaintiff‘s

allegations make the likelihood of the defendant‘s misconduct plausible, not just conceivable.

Id. at 679.

        III.    LEGAL ARGUMENT

        Plaintiff brings four counts of retaliation against defendants in his amended complaint.

Plaintiff‘s claims under Counts I and IV must be dismissed with prejudice because plaintiff fails




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to aver facts sufficient to create a prima facie case of retaliation under Title VII and the PHRA.3

Plaintiff fails to aver any facts to show a causal connection between his protected activity and an

adverse employment action, instead relying solely on legal conclusions.

        Plaintiff‘s claims under Count II must be dismissed because plaintiff fails to assert a

plausible section 1981 claim against the individual defendants. Substantively, the legal standards

for a section 1981 retaliation claim are the same as those applicable to a Title VII retaliation

claim. Therefore Count II should be dismissed with prejudice because plaintiff fails to aver facts

sufficient to create a prima facie case of retaliation as reasoned under Counts I and IV.

Procedurally, section 1981 does not create an independent cause of action against state actors for

violations of its terms and must be brought pursuant to Section 1983. Therefore, Count II should

be dismissed with prejudice because plaintiff fails to establish defendants‘ liability as reasoned

under Count III.

         Plaintiff‘s claims under Count III must be dismissed with prejudice because plaintiff

amended his complaint and still fails to assert a plausible section 1983 violation for deprivations

of his First and Fourteenth Amendment rights. Section 1983 is a remedial statute that does not

create rights, but provides a remedy for violation of Constitutional rights. To bring a section

1983 claim, a plaintiff must plead three elements: (1) defendants acted under color of law; (2)

defendants violated plaintiff's federal constitutional or statutory rights; and (3) that violation

caused injury to plaintiff. Elmore v. Cleary, 399 F.3d 279, 281 (3d Cir. 2005). Plaintiff fails to

properly identify specific constitutional rights, to aver facts that Defendants violated those rights,

and to establish any of the defendants‘ liability. Therefore, plaintiff‘s section 1983 claim must

be dismissed with prejudice.


3
 Pennsylvania courts interpret Title VII and the PHRA as coextensive. Atkinson v. Lafayette College, 460 F.3d 447,
454n.6 (3d Cir. 2006)


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                A. Plaintiff’s Statutory Retaliation Claims under Title VII and PHRA Fail
                   Because Plaintiff Has Not Shown a Plausible Claim For Relief

        Plaintiff‘s does not create a plausible claim for relief under Title VII and the PHRA‘s

anti-retaliation provisions because he fails to allege facts that show that his EEOC complaint and

federal lawsuit filed against the City in 2008 caused or is connected to his failure to be reinstated

after his resignation in 2011.

        To create a prima facie case for retaliation, a plaintiff must show that (1) he engaged in

activity protected by Title VII; (2) the employer took an adverse employment action against him;

(3) there is a causal connection between his participation in the protected activity and the adverse

employment action." Moore v. City of Phila., 461 F.3d 331, 340-41 (3d Cir. 2006). A causal

connection between protected activity and adverse employment actions can be shown with direct

evidence of retaliatory intent. Without direct evidence of retaliatory intent to satisfy the causal

prong of retaliation under Title VII, a plaintiff must point to either (1) a temporal proximity that

is ―unusually or unduly suggestive‖ of retaliation, or (2) to some temporal proximity plus

evidence of an intervening period of antagonism. Williams v. Phila. Hous. Auth. Police Dep’t.,

380 F.3d 751, 759-60 (3d Cir. 2004). Even a period of less than one month between protected

activity and an adverse employment action has been held not to be ―unusually or unduly

suggestive‖ of retaliation, absent any other evidence of intervening period of antagonism.

McLaughlin v. Fisher, 277 Fed. Appx. 207, 218 (3d Cir. 2008) (a period of less than a month,

alone, not suggestive of a retaliatory motive). 4 In the absence of suggestive temporal proximity,

the proffered evidence may also be examined ―as a whole to raise an inference of causation.‖

Marra v. Philadelphia Housing Auth., 497 F.3d 286, 302 (3d Cir. 2007).

4
 See also Walker v. Independence Blue Cross, 2005 US Dist. Lexis 10219 (E.D. Pa. 2005) (four months too long);
Todd v. New England Motor Freight, 2004 US Dist. Lexis 7099 (E.D. Pa. 2004) (three-and-one-half months too
long); Woods v. Bentson, 889 F. Supp 179, 187 (E.D. Pa. 1997) (four months too long); Pritchett v. Imperial Metal
and Chemical Co., 1997 US Dist. Lexis 13841 (E.D. Pa. 1997) (two months too long).


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       Not only does plaintiff fail to provide facts that show direct retaliatory intent on behalf of

the defendants, facts that he does allege cannot—as a matter of law—establish retaliation. In

reference to his protected activity, plaintiff avers that he filed an EEOC charge on June 6, 2008,

for race discrimination. Amend. Compl. at ¶ 13. The defendants agree that plaintiff‘s EEOC

charge constitutes protected activity. Although he avers that he received a right to sue letter,

filed a suit in federal court, and individual defendants participated in the suit as witnesses for the

City, he does not provide any dates for these alleged events. Plaintiff does allege that the District

Court granted the City‘s motion for summary judgment on July 11, 2011 and he appealed that

decision on October 11, 2011. Id. at ¶¶ 17-18. In reference to an adverse employment action,

plaintiff avers that on September 26, 2011 and December 14, 2011 he ―demanded‖ reinstatement

but received no response. Id. at ¶¶ 22, 24, 28.

       Plaintiff fails to establish a causal connection based on temporal proximity between his

alleged protected activities and the alleged adverse employment actions. A period of three years

between the filing of the EEOC complaint and the failure to reinstate is not unusually suggestive.

Even if the protected activity is extended the District Court‘s action of granting the City‘s

summary judgment motion in July 2011, a time period of over two months is not unusually

suggestive. Further, if the October 11, 2011 appeal of the District Court‘s order granting the

City‘s motion for summary judgment is considered a new protected activity, two months

between that appeal and the failure to reinstate on December 14, 2011 is not unusually

suggestive.

       Plaintiff fails to aver facts that defendants subjected him to a period of intervening

antagonism. The Third Circuit has found a ―pattern of antagonism‖ where the plaintiff was

subjected to a "constant barrage of written and verbal warnings, inaccurate point totalings, and




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disciplinary action, all of which occurred soon after plaintiff's initial complaints and continued

until his discharge." See Robinson v. Se. Pa. Transp. Auth. 982. F.2d 892, 895 (3d Cir. 1993).

Plaintiff makes no averments that defendant‘s subjected plaintiff to any ―antagonistic‖ actions in

the workplace. Other than alleging that plaintiff engaged in protected activities and resigned in

January of 2011 due to his mother‘s illness, there are no averments of any interaction between

plaintiff and the defendants between the filing of his EEOC charge (or, to take a presumably-

later but undated event, the filing of his federal lawsuit), and plaintiff‘s ―demands‖ to be

reinstated to his former or a comparable position. After his ―demand‖ for reinstatement,

plaintiff only lists the following averments that defendants:

              knew and were aware that plaintiff was seeking reinstatement because he hand
               delivered his request to the Office of Human Resources and observed an
               employee fax his request for reinstatement to Linda Turner on two occasions;

              denied or failed to respond to his ―authorized‖ reinstatement and quickly filled the
               position; and

              had other comparable positions but denied or failed to respond to plaintiff‘s
               reinstatement in supposed violation of Regulation 15.031.

Amend. Compl. at ¶¶ 17-19.

       Plaintiff‘s remaining ―factual‖ averments are based on a willful misrepresentation of

Regulation 15.031, which, despite what plaintiff tries to suggest, does not mandate reinstatement

within a year after a former employee‘s resignation. This misstatement of fact cannot give rise

to an inference of causation. Plaintiff concludes that he was retaliated against, but does not plead

facts to allow the court to infer more than a mere possibility of retaliation. Therefore, Counts I

and IV should be dismissed.

               B. Plaintiff’s Claim Under 42 U.S.C. § 1981 Fails because he Does Not
                  Provide a Plausible Claim for Relief or Establish Defendants’ Liability.




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        The legal standards for a retaliation claim under Section 1981 are the same as those

applicable to a Title VII retaliation claim. See, e.g., Cardenas v.Massey, 269 F.3d 251, 263 (3d

Cir. 2001); Khair v. Campbell Soup Co., 893 F. Supp. 316, 335-36 (D.N.J. 1995) (noting that

with respect to retaliation claims, ―the Civil Rights Act of 1991 extended § 1981 to the reaches

of Title VII.‖). Therefore, plaintiff‘s section 1983 claim must be dismissed with prejudice under

the same reasoning as described in Section A of this brief.

        Even if plaintiff were able to establish that his section 1981 rights were violated, he

cannot establish liability for the individual defendants under section 1983.5 42 U.S.C. § 1981

does not provide an independent cause of action against state actors for violations of its terms.

McGovern v. City of Philadelphia, 554 F.3d 114 (3d Cir. 2009). Any remedy plaintiff may have

for a violation of rights under that statute is through 42 U.S.C. § 1983. See Roadcloud v. Pa. Bd.

of Prob. & Parole, 2006 U.S. Dist. LEXIS 925, 9-10 (E.D. Pa. Jan. 6, 2006) (merging section

1981 claims against individual defendants into section 1983 claims); see also Cooper v. City of

Coatesville,, 2013 U.S. Dist. LEXIS 621, *5 (E.D. Pa. Jan. 3, 2013) (dismissing § 1981 claim

against individual defendant for lack of remedy against defendants acting under color of state

law). Cooper named both the municipality and the Chief of police as defendants and claimed that

the Chief subjected him to harsher disciplinary standards and restricted his rights. Cooper, 2013

U.S. Dist. Lexis at *2. The plaintiff conceded there was no remedy under section 1981 against

the municipality, but argued that he could proceed under that statute against individual municipal

employees. Id. at *4. The court dismissed the section 1981 claim against both the municipality

and the individual defendant, stating

        ―we see no cause for differentiating between ‗state actor‘ municipal liability under
        § 1981 and ‗state actor‘ liability under § 1981 of a municipal officer or

5
  In his amended complaint, plaintiff includes a section 1981 claim against individual defendants under Count II and
includes that same Section 1981 claim again under Count III‘s section 1983 claim. Amend. Compl. ¶¶ 35, 39.


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        employee.‖ Id. There is simply no remedy under section 1981 against a
        defendant acting under color of state law. The remedy lies solely under section
        1983.‖ Id at *5.

        Plaintiff specifically states in his amended complaint that ―at all material times to this

case‖ all of the named individual defendants were acting ―under color of state law‖. Amend.

Compl. at ¶ 11. Because plaintiff has brought a section 1981 claim against state actors acting

under state law and fails to establish their liability as discussed under Section C of this brief,

Count II must be dismissed with prejudice.

        C. Plaintiff’s Does Not State a Plausible Claim for Relief under § 1983.

        Plaintiff‘s section 1983 claims against defendants are fatally flawed. Section1983 is a

remedial statute for deprivations of rights established by the U.S. Constitution and federal laws

that do not otherwise provide a remedy, and it does not create substantive rights. Kaucher v.

County of Bucks, 455 F.3d 418, 423 (3d Cir. 2006) (citations omitted). In order to analyze a

section 1983 claim, the Court must first ―‗identify the exact contours of the underlying right said

to have been violated‘ and [then] determine ‗whether the plaintiff has alleged a deprivation of a

constitutional right at all.‘‖ Kaucher, 455 F.3d at 423 (quotation omitted) (emphasis added).

Only after plaintiff has actually plausibly alleged a deprivation of a constitutional right should

the court then determine if she has sufficiently alleged that the defendants can be held liable. See

id. at n.2.

        Plaintiff‘s claims under the First Amendment, Fourteenth Amendment due process

clause, and Fourteenth Amendment equal protection clause fail because he does not identify the

underlying right said to be violated under each clause. Even if he had properly identified the

right, he has not alleged a deprivation of any of those constitutional rights nor established the




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liability of any defendants‘. Because plaintiff has failed to correct any of these flaws in his

amended complaint, Count III must be dismissed with prejudice.

               1. Plaintiff Cannot State a Plausible Claim for First Amendment Retaliation
                  Because Plaintiff‘s EEOC Charge and Prior Lawsuit are not Protected
                  Activity.

       In Count III of plaintiff‘s amended complaint, plaintiff alleges that he exercised his First

Amendment right by ―opposing and protesting Defendants‘ unlawful discriminatory conducts

and practices, and complaining to authorities about the unlawful conducts and practices.‖ Amend.

Compl. at ¶ 38. The only factual averment that supports his claim is that he filed an EEOC

complaint for race discrimination in 2008 and subsequently filed a lawsuit.

                       i.      Plaintiff fails to identify the contours of his right under the First
                               Amendment.


       Plaintiff does not specify which right under the First Amendment was allegedly violated

by defendants. The First Amendment prohibits Congress from making laws ―respecting an

establishment of religion, or prohibiting the free exercise thereof; or abridging the freedom of

speech, or of the press, or the right of the people peaceably to assemble, and to petition the

Government for a redress of grievances.‖ U.S. Const. amend. I. Due to the fact that plaintiff

avers that he filed an EEOC complaint and lawsuit, the best inference is that he exercised his

right to freedom of speech or right to petition the government. Under a recent decision by the

Supreme Court, the Court identified that in public employment cases (1) Petition Clause activity

is coextensive with the protection afforded Free Speech activity and (2) the First Amendment

protects this activity only if petitioner speaking as citizen on matter of public concern. See

Duryea v. Guarnieri, 131 S. Ct. 2488 (2011).




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                        ii.    Plaintiff was not speaking as a citizen on a matter of public
                               concern when he filed his EEOC complaint and subsequent
                               lawsuit.

       When a public employee sues a government employer for violations of the Free Speech

or Petition Clauses, the employee must show that he or she spoke as a citizen on a matter of

public concern. Duryea, 131 S. Ct. at 2489 ―If the Petition Clause were to apply even where

matters of public concern are not involved, that would be unnecessary, or even disruptive, when

there is already protection for the rights of public employees to file grievances and to litigate.‖

Id. at 2497. ―The right of a public employee under the Petition Clause . . . is not a right to

transform everyday employment disputes into matters for constitutional litigation in the federal

courts.‖ Id. at 2501.

       Courts in this district have repeatedly ruled that plaintiffs complaining of their own

discrimination do not speak as citizens on a matter of public concern, and, thus, are not able to

maintain a First Amendment retaliation claim.6

       An employee's speech or petition clause activity involves a matter of public concern

where ―it can be fairly considered as relating to any matter of political, social or other concern to

the community.‖ Brennan v. Norton, 350 F.3d 399, 412 (3d Cir. 2003) (quoting Baldassare v.

New Jersey, 250 F.3d 188, 194 (3d Cir. 2001)). Plaintiff‘s alleged complaints pertained only to

conduct directed towards him and were made only to advance his own interests. For instance, in

Count III of plaintiff‘s amended complaint, he alleges the following protected activity:

              ―Plaintiff exercised his Constitutional rights under the First Amendment . . . by
               opposing and protesting Defendants‘ unlawful discriminatory conducts [sic], and
               complaining to authorities about the Defendants‘ unlawful discriminatory
               conducts [sic].‖
6
 See Miles v. City of Philadelphia, 2011 U.S. Dist. LEXIS 107499 (E.D. Pa. 2011); Heep-Davis v.
City of Philadelphia, No. 09-cv-5619, 2010 U.S. Dist. Lexis 39023, *10 (E.D. Pa. 2010); Middleton
v. Deblasis, 2011 U.S. Dist. LEXIS 149802 (E.D. Pa. 2011); Pettus v. City of Philadelphia, 2011
U.S. Dist. LEXIS 87525 (E.D. Pa. Aug. 5, 2011).


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Amend. Compl. at ¶ 38. The only factual allegations to support this conclusory statement are:

           ―On or about June 6, 2008, Plaintiff filed a complaint of race discrimination against
            Defendants with the EEOC under Charge No. 530-2008-02625.‖

           ―Plaintiff continued prosecution [of] his race discrimination claims against
            Defendants in the United States District Court after receiving a notice of right to sue
            in the previous matter under civil action No. 10-4237-RB.‖

           ―Plaintiff continued asserting his claim of race discrimination in the Previous Action
            by filing a notice of appeal on October 11, 2011 of the District Court‘s dismissal of
            his Previous Action.‖

Id. at ¶¶ 13, 14, 18. As pled, plaintiff‘s allegations do not involve a matter of public concern.

See Miles, 2011 U.S. Dist. LEXIS 107499 at 9-13. The Miles court embraced the Duryea

decision and dismissed a plaintiff police officer‘s nearly identical claim of First Amendment

retaliation where the plaintiff‘s complaints to the Police Department, the PHRC, and the EEOC

concerned only her own individual claims of employment discrimination and did not ―implicate

defendants in a pattern of conduct directed at anyone other than her.‖ Id. at 12.

       Because plaintiff‘s alleged complaints concern only his own individualized treatment by

Defendants, he has failed to allege facts sufficient to establish that he spoke out as a matter of

public concern and, as a result, his First Amendment retaliation claim under section 1983 must

be dismissed with prejudice.

               2. Plaintiff Cannot State a Plausible Claim for Violations of his Fourteenth
                  Amendment Rights to Procedural or Substantive Due Process or Equal
                  Protection.

       Plaintiff‘s alleged Fourteenth Amendment claims are virtually incoherent. In the

―Introduction‖ to his complaint, plaintiff alleges that he engaged in protected activities under the

―unequal protection‖ clause, but then fails to aver any facts to support that claim. See Amend.

Compl. at ¶ 2. Later, in Count III, plaintiff alleges that (1) he engaged in activities protected

under some unspecified clause of the Fourteenth Amendment, (2) the defendants are liable for



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some unspecified failure to train either the individual defendants or unnamed individuals on

some unspecified process which somehow violated plaintiff‘s ―due process‖ rights, and (3)

defendants displayed deliberate indifference to plaintiff‘s property rights. Id. at ¶ 38-42.

Plaintiff does not specify if defendants allegedly violated his procedural due process rights or

substantive due process rights. Assuming arguendo that plaintiff has asserted claims for

violation of his rights to procedural and substantive due process, as well as equal protection, he

fails to plausibly allege a deprivation of those rights and liability on the part of any defendant.

Therefore, his Fourteenth Amendment retaliation claim must be dismissed with prejudice.

                       i.      Plaintiff does not have a legitimate claim of entitlement to
                               employment.

       In order to assert a procedural due process claim, plaintiff must identify a property

interest protected by the Due Process Clause. Plaintiff ―must show that under Pennsylvania law,

he had a legitimate claim of entitlement to employment.‖ Anderson v. Philadelphia, 845 F.2d

1216, 1220 (3d Cir. 1988). It is not enough that plaintiff claims that he has some theoretical

right to reinstatement; he must plausibly aver that he has a ―legitimate claim of entitlement‖ in

order to establish a property interest. Board of Regents of State Colleges v. Roth, 408 U.S. 564,

577 (1972).

       To have a property interest in a benefit, a person clearly must have more than an
       abstract need or desire for it. He must have more than a unilateral expectation of
       it. He must, instead, have a legitimate claim of entitlement to it. It is a purpose of
       the ancient institution of property to protect those claims upon which people rely
       in their daily lives, reliance that must not be arbitrarily undermined. . . .

       Property interests . . . are created and their dimensions are defined by existing
       rules or understanding that stem from an independent source such as state law—
       rule or understandings that secure certain benefits and that support claims of
       entitlements to those benefits.

Id.




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       Plaintiff does not have a property interest in his former position. He claims that his

reinstatement was ―authorized‖ and defendant‘s failure to reinstate him is in ―violation of the

Civil Service Regulation.‖ The existing rule that could potentially create a property interest in

employment is Regulation 15.031. This regulation makes clear that an employee who has

resigned may be reinstated if such reinstatement is approved by the Director and the appointing

authority. Regulation 15.031‘s clear discretionary language does not create a rule or

understanding to support a claim of entitlement. Because plaintiff has no property right in his

employment, his Fourteenth Amendment procedural due process retaliation claim must be

dismissed with prejudice.

                       ii.     Plaintiff has no substantive due process property interest in public
                               employment.

       Substantive due process protects only ―fundamental‖ rights from government conduct

that ―shocks the conscience.‖ Nicholas v. Pennsylvania State Univ., 227 F.3d 133, 140 (3d Cir.

2000) (substantive due process protects only ―basic rights that underlie our society‖); Sameric

Corp. v. City of Phila., 142 F.3d 582, 590 (3d Cir. 1998) (state action depriving plaintiff of

fundamental right must be arbitrary and capricious). Public employment is not a fundamental

right. See, e.g., Hill v. Borough of Kutztown, 455 F.3d 225, 235 & n.6 (3d Cir. 2006)

(dismissing plaintiff‘s substantive due process claims because there is no protection for public

employment); Lape v. Pennsylvania, 157 Fed. Appx. 491, 500 (3d Cir. 2005) (no substantive due

process property interest in public employment). Therefore, because plaintiff has no

fundamental right to be employed by the City, his Fourteenth Amendment substantive due

process retaliation claim must be dismissed with prejudice.

                       iii.    Plaintiff fails to aver any facts to support an Equal Protection
                               Claim.




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        Plaintiff alleges no facts to support a claim for violation of the Equal Protection clause

under the Fourteenth Amendment. He states that he ―engaged in protected activities under…the

unequal protection [sic] clause‖ of the Constitution. Amend. Compl. at ¶ 2. Equal protection

discrimination claims are evaluated under the same framework as Title VII claims. St. Mary’s

Honor Ctr. v. Hicks, 509 U.S. 502, 506 n. 1 (1993). 7 To bring a successful claim for race

discrimination under Title VII, a plaintiff must prove that ―an employer has ‗treated [a] particular

person less favorably than others because of' a protected trait . . . [and] ‗that the Defendant had a

discriminatory intent or motive‘ . . . .‖ Ricci v. DeStefano, 557 U.S. 557, 577 (2009) (quoting

Watson v. Fort Worth Bank & Trust, 487 U.S. 977, 985-986 (1988)).

        Plaintiff avers no facts to support this claim. He does not allege race discrimination. Nor

does he name any other employees in the complaint that he received favorable treatment.

Therefore, plaintiff‘s Fourteenth Amendment Equal Protection retaliation charge must be

dismissed with prejudice.

                 3.       Plaintiff Cannot Establish an Liability on the City‘s Part for Failure to
                          Train.

        Even assuming, arguendo, that plaintiff could establish that he suffered a constitutional

harm; he cannot establish municipal liability for failure to train on the City‘s part. Therefore,

Count III against the City should be dismissed with prejudice.

        Plaintiff alleges that his ―Constitutional and federal statutory rights were violated as a

direct and proximate result of the failure of the City of Philadelphia to properly train, supervise,

discipline and control Defendants. By failing to train, discipline and supervise its officers, the

City of Philadelphia has displayed deliberate indifference to the rights of plaintiff to be free from


7
  Additionally, a § 1983 equal protection claim requires the added showing of not only discriminatory intent but
discriminatory purpose. Bucks v. Berks County, 1999 U.S. Dist. LEXIS 1225, 7 (E.D. Pa. Jan. 29, 1999).



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retaliatory actions.‖ Amend. Compl. at ¶¶ 41-42. Plaintiff also alleges that the City ―acquiesced

in the unlawful conduct of its officials in its Park and Recreation Department‖. Id at ¶ 43.

         To establish a Monell claim against the City of Philadelphia under § 1983, plaintiff must

show ―(1) the existence of a custom or policy of the municipality and (2) that the municipality's

employees violated the plaintiff's civil rights while acting pursuant to this custom or policy.‖

White v. Brommer, 747 F. Supp. 2d 447, 462-463 (E.D. Pa. 2010).8 ―A municipality's failure to

adequately train its officers and employees gives rise to a cause of action under Section 1983 if

the deficient training reflects a deliberate indifference to an individual's civil rights, including

those guaranteed under Section 1981, and is ‗closely related to the ultimate injury.‘‖ Id. at 463

(citations omitted). The Third Circuit pointed out that ―establishing municipal liability on a

Monell claim for inadequate training is difficult.‖ Id. at 463 citing Reitz v. County of Bucks, 125

F.3d 139, 145 (3d Cir.1997). This Court recognizes two distinct theories of recovery that a

plaintiff may use to prove municipal liability based upon a failure to train: pattern-of-violations

theory and single-violation theory. Id. at 463 – 65. Plaintiff has not pleaded a plausible claim

under either theory.

                           i.       Plaintiff has not alleged a pattern of violations because he has
                                    only alleged that his rights were violated on two related occasions

         Plaintiff cannot establish municipal liability for the City‘s alleged failure to train its

employees with regard to the unspecified First and Fourteenth Amendment rights because he has

not alleged a pattern of violations of employees‘ free speech and petition, due process, and equal

protection rights. In White, the court dismissed a plaintiff‘s municipal liability claims for failure

to train under a pattern-of-violations theory, reasoning that:

8
 In White, the plaintiff, an African-American male, sued a police sergeant and his employer, the Borough of
Columbia, Lancaster County, Pennsylvania. 747 F. Supp. 2d at 452. In his complaint, the plaintiff alleged, inter
alia, that defendant Borough of Columbia had failed to train its employees not to intentionally interfere with an
arrestee‘s right to make and enforce contracts because of the arrestee‘s race. Id. at 464.


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       [t]he Complaint is devoid of any reference to any other incident involving plaintiff or any
       other person, wherein a Borough of Columbia police officer or employee intentionally
       interfered with an individual's right to make or enforce a contract because of that
       individual's race. The paragraph alleging deficient training mentions no other person, nor
       citizens generally, whose rights were violated because [of] the Borough's deficient
       training. Furthermore, the Complaint does not plead facts sufficient to show, or support a
       reasonable inference, that Sergeant Brommer‘s actions were anything more than a one-
       time occurrence. The facts pled describe a single incident, which is by definition
       insufficient, pursuant to Twombly, supra, to state a ―failure to train‖ Monell claim under a
       ―pattern of violations‖ theory.

747 F. Supp. 2d at 464. Similarly, plaintiff‘s amended complaint alleges only that two incidents

involving a single request for reinstatement are the basis for the alleged retaliation. Amend.

Compl. at ¶ 30. The amended complaint does not mention another employee whose rights were

allegedly violated nor does it mention any occurrence other than the two days plaintiff delivered

his singular request to the Office of Human Resources and defendants‘ did not respond. These

two occurrences relating to one request may not technically describe a ―single incident‖ but they

are still insufficient to show a ―pattern‖ of violations caused by the City‘s failure to train.

Accordingly, plaintiff‘s municipal liability claim under section 1983 for failure to train and/or

supervise should be dismissed. See White, 747 F. Supp. 2d at 464.

                       ii.     Plaintiff’s complaint contains no allegations to support a claim for
                               failure to train and/or supervise based upon a single-violation
                               theory

       In order to proceed under the single-violation theory of recovery, plaintiff must show (1)

a violation of federal rights may be a highly predictable consequence of a failure to train; and, (2)

the likelihood of recurrence and predictability of the violation of a citizens‘ rights could justify a

finding that a policymakers‘ decision not to train an employee reflected deliberate indifference to

the obvious consequence of the policymakers‘ choice - namely, a violation of a specific

constitutional or statutory right. See id. at 464 – 65. In White, the court dismissed a plaintiff‘s

municipal liability claims for failure to train under a single-violation theory when the complaint



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failed to allege facts sufficient to show or raise the inference that the defendant‘s failure to train

its employees would result in constitutional violations frequently enough to make training

desirable or that the defendants‘ failure to train the actors in question actually caused the

violations alleged. Id. at 464.

        Similarly, plaintiff‘s complaint contains no averments that the alleged failure to train

resulting in the supposed violation of his First and Fourteenth Amendment rights is likely to

recur frequently enough that training would be desirable or that the lack of training and/or

supervision actually caused his harms and showed the deliberate indifference of a policymaker.

In order to support his claim, plaintiff alleges only the following:

        The City of Philadelphia [has failed] to properly train, discipline, supervise, and control
        Defendants regarding the due process rights of the Plaintiff and the right to be free from
        unlawful retaliatory actions by its officials. By failing to train, discipline and supervise
        its officers, the City displayed deliberate indifference to the rights of Plaintiff to be free
        from retaliatory actions. The City acquiesced in the unlawful retaliatory conduct of its
        officials in its Park and Recreation Department.


Amend. Compl. at ¶ 30. This allegation, again, is exactly the sort proscribed under Iqbal and

Twombly because it is nothing more than a reiteration of the elements of the claim supported by

generalized conclusory statements. Following the Third Circuit‘s holding in Fowler, once this

bald legal conclusion is disregarded, it is clear that plaintiff has not alleged any facts regarding

the City‘s alleged failure to train its employees.

        Plaintiff not only asserts bald legal conclusions, but also creates a circular, broad, and

therefore implausible argument. His allegation against the City essentially boils down to this:

the City‘s failure to train employees to not violate the rights of plaintiff shows deliberate

indifference to the rights of plaintiff to be free from actions that violate the rights of plaintiff.




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This this is exactly the type of ―…unadorned, the-defendant-unlawfully-harmed-me accusation‖

proscribed under Iqbal that a court need not consider.

       Because averments supporting this position are necessary to state a claim for failure to

train under a single-violation theory, plaintiff‘s municipal liability claim under section 1983 must

be dismissed with prejudice.

       4.       Plaintiff fails to Establish Liability of Individual Defendants.

       Plaintiff claims that the individual defendants ―direct[ed], participat[ed] and/or

condon[ed] unlawful retaliatory actions‖ while they were acting ―under color of state law.‖

Amend. Compl. at ¶ 45. When these legal conclusions are stripped from the factual allegations,

the only averments plaintiff makes against both defendants are that:

               they were ―appointing authorized officials of the Parks and Recreation

                Department responsible for approving plaintiff‘s reinstatement requests.‖

               they were ―involved in the First Civil Action.‖

               they were ―aware of plaintiff‘s demand for reinstatement and quickly filled the

                position with another employee.‖

               Both individual defendants failed to respond to and/or denied plaintiff‘s request

                for reinstatement to his former position or comparable positions in ―violation of

                Civil Service regulation entitling plaintiff to reinstatement. ―

Amend. Compl. at ¶¶ 25, 27-29.

       There are no specific allegations that Lynn Spiro had actual knowledge that plaintiff

requested and was denied reinstatement. The amended complaint only specifies her position

with Parks and Recreation and her role in the First Civil Action. Id. at ¶ 26. The only specific

allegation made against Linda Turner is that a copy of plaintiff‘s request for reinstatement was



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faxed to her on two separate occasions from the City‘s Office of Human Resources department.

Id. at ¶¶ 22, 24.

        The individual defendants are not liable under section 1983. Even if plaintiff can

establish liability, individual defendants are entitled to qualified immunity and plaintiff‘s

complaints against them are barred.

                       i. Plaintiff has not plausibly alleged individual defendants liability

        To plausibly allege liability, plaintiff must aver that the individuals personally directed

the allegedly unconstitutional acts or had actual knowledge or acquiesced in those acts. Rode v.

Dellaciprete, 845 F.2d 1195, 1207 (3d Cir. 1988). ―Allegations of participation or actual

knowledge and acquiescence, however, must be made with appropriate particularity.‖ Id. ; see,

also, e.g., Boykins v. Ambridge Area School District, 621 F.2d 75, 80 (3d Cir. 1980) (civil rights

complaint adequate where it states time, place, persons responsible); Hall v. Pennsylvania State

Police, 570 F.2d 86, 89 (3d Cir. 1978) (same).

        Plaintiff relies on the legal conclusion that individual defendants had ―appointing

authority‖ to imply that they directly participated in the alleged unconstitutional acts. This type

of legal conclusion is not only disregarded under Fowler, it is also inadequate under the Third

Circuit‘s standard of ―appropriate particularity.‖ The only particular allegations plaintiff makes

about individual defendants are their positions with Parks and Recreation and the fact that he

witnessed the Office of Human resources fax a copy of his request to Linda Turner. Plaintiff

does not particularly allege that each individual defendant had knowledge of his request for

reinstatement nor does particularly allege how their specific roles gave them the capacity to hire

or accept a reinstatement request. Plaintiff has not established liability against the individual

defendants. Therefore, Count III against them should be dismissed with prejudice.




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                      ii. Even if plaintiff establishes liability, the individual defendants are
                          entitled to qualified immunity.

       Linda Turner and Lynn Spiro are entitled to qualified immunity because none of their

alleged conduct violated clearly established constitutional rights. ―[G]overnment officials

performing discretionary functions generally are granted a qualified immunity and are ‗shielded

from liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person should have known.‘‖ Gwynn v.

City of Philadelphia, 866 F. Supp. 2d 473 (E.D. Pa. Mar. 28, 2012) (quoting Wilson v. Layne,

526 U.S. 603, 609 (1999) (citations omitted)). Qualified immunity allows public officials to be

exposed to liability for their actions only when they violate clearly established law. Generally,

those officials are immune when the law is unclear. Wilson v. Wigen, 1997 U.S. Dist. LEXIS

4220 (E.D. Pa. Mar. 31, 1997) (citing Anderson v. Creighton, 483 U.S. 635, 638 (1987)). In

other words, qualified immunity is designed to protect ―all but the plainly incompetent or those

that violate the law.‖ Wilson, 1997 U.S. Dist. LEXIS at *3 (citing Malley v. Briggs, 475 U.S.

335, 341 (1986). The Court is, therefore, required to determine whether the official‘s act was

―objectively reasonable‖ such that ―in light of pre-existing law the unlawfulness must be

apparent.‖ Wilson, 1997 U.S. Dist. LEXIS at *3 (citing Anderson, 483 U.S. at 639-40. Whether

an official is entitled to qualified immunity is a threshold question to be determined by the Court.

Wilson, 1997 U.S. Dist. LEXIS at *3 (citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).

       All of the alleged actions taken by defendants are discretionary decisions made in

accordance with Civil Service Regulation 15.031 which states that the appointing authority may

reinstate an employee within a year of his or her resignation. In following the appropriate Civil

Service regulation, the individual defendants actions were objectively reasonable and did not

violate clearly established statutory or constitutional rights. Therefore Linda Turner and Lynn



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Spiro are entitled to qualified immunity, plaintiff‘s claims against them are barred, and Count III

against them should be dismissed with prejudice.

IV.    CONCLUSION

       Because plaintiff has failed to state a plausible claim for relief in Counts I to IV of his

Complaint, those counts should be dismissed with prejudice.

                                      Respectfully submitted,

                                      CITY OF PHILADELPHIA LAW DEPARTMENT
                                      SHELLEY R. SMITH, City Solicitor
                                      ELIZABETH MATTIONI, Chair, Litigation Group
                                      SUZANNE REILLY, Chief Deputy City Solicitor

                                      /s/ Margaret J. Theranger
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, Defendants‘ Motion to Dismiss was electronically filed,
and is available for viewing and downloading via the Court‘s ECF system. I further certify that
this document was served electronically on the following:

                      Olugbenga O. Abiona, Esq.
                      1433 South 4th Street
                      Philadelphia, PA 19147




Date: April 2, 2013                          /s/ Margaret J. Theranger
                                             Margaret J. Theranger, Esq.
                                             Assistant City Solicitor




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                      EXHIBIT 1




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       15. RESIGNATION, REINSTATEMENT, RESTORATION AND RETIREMENT

15.01 - RESIGNATION.

15.011 - EMPLOYEE NOTICE OF. An employee wishing to leave the Civil Service in good
standing shall file with the appointing authority, at least fifteen (15) days before leaving the
service, a dated and signed written resignation stating the effective date of resignation and
reasons for leaving. The appointing authority shall immediately forward the resignation to the
Director with a report on the employee's service performance and pertinent information
concerning the cause for resignation. Failure to comply with this rule shall be entered on the
service record of the employee and may be cause for denying future employment by the
City. The appointing authority shall immediately report to the Director the resignation of any
employee who fails to give notice.
15.012 - PRE-DATED NOTICES. No person about to be appointed to any position in the Civil
Service shall in advance of or at the time of such appointment sign or execute a resignation dated
or undated. No written resignation shall be made or shall be valid unless it bears the date of the
resignation, the date when it shall become effective and the signature of the person resigning,
which dates shall be in his/her own handwriting.
15.013 - PROMOTIONS, TRANSFER, DEMOTION AND EQUIVALENT POSITION
CHANGE. No employee shall be required or be permitted to sign any document containing
language indicating his/her resignation from City employment as a condition of promotion,
transfer, equivalent position change or demotion to another position.

15.02 - INVOLUNTARY RESIGNATION. Any person who resigns from the Civil Service may
ask the Commission, in writing, within thirty (30) days after the effective date of such
resignation, for a public hearing, stating his/her reasons. If on investigation there appears to be
satisfactory evidence that the employee has been forced to resign against his/her will and without
just cause, or that his or her separation from the service has been involuntary and without just
cause, the Commission shall grant him/her a public hearing as hereinafter provided in the case of
removal or demotion, and shall treat the separation as though it were a removal.

15.03 - REINSTATEMENT.
15.031 - REINSTATEMENT FOLLOWING RESIGNATION. An employee who has resigned
in good standing may be reinstated within one year to any position in the City service in the same
class, in a comparable class, or in a lower class in the same or comparable series of classes
having substantially the same qualification requirements, skills or aptitudes if such reinstatement
is approved by the Director and by the appointing authority of the department in which the
reinstatement is to be made. All employees reinstated following resignation must serve a new
probationary period of six (6) months.
15.032 - REINSTATEMENT FOLLOWING RETIREMENT. A disabled employee retired from
the City service in accordance with the provisions of the City Pension Ordinance (Bill 907) and
who subsequently, under the provisions of Section 208 of said Ordinance, is determined to be
able to resume employment:
shall, if the disability was service-connected, be reinstated, if physically capable, to his/her
former or an equivalent position, with accrued seniority, in the department from which he or she
retired. If not physically capable of resuming the duties of his/her former or an equivalent



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position, he or she shall be given employment compatible with his/her disability. Reinstatement
under this section shall not serve to add to or deny the employee any benefits to which he or she
may have been entitled under Regulation 32, or
may, if the disability was non-service connected, be reinstated to a position in the City service,
compatible with his/her disability.
15.033 - REINSTATEMENT TO FORMER POSITION FOLLOWING INVOLUNTARY
DEMOTION. An appointing authority may, with the approval of the Director, reinstate an
employee to his former position following an involuntary demotion, providing the employee had
permanent status in the former position and providing that such reinstatement occurs within two
years of the demotion. Reinstated employees will be required to undergo a probationary period
as required by Section 14 of these Regulations. However, no such reinstatement may be made
until the appointing authority has considered all persons whose names appear on promotional
eligible lists for that class. The provisions of this Regulation shall be retroactive to July 1, 1974.
15.034 - REINSTATEMENT TO CITY SERVICE OF EMPLOYEES SEPARATED TO
WORKERS' COMPENSATION. At any time following separation from City service and while
receiving Workers' Compensation for such service, an employee may be offered employment in
lieu of Workers' Compensation and shall be eligible for reinstatement to a position in the City
service which is compatible to the employee's disability.

15.04 - RESTORATION.
15.041 - RESTORATION FOLLOWING TERMINATION OF PROVISIONAL
APPOINTMENT. An employee with permanent Civil Service status in a class who has vacated
a position in that class to accept another position on the same level or in a higher class, in the
same department, under provisional appointment shall, if he so desires, at the termination of such
appointment, be restored to a position in the same department in his former class. An employee
with permanent Civil Service status in a class who has vacated a position in that class to accept
another position on the same level or in a higher class, in a different department, under
provisional appointment, may, at the termination of such appointment, with the approval of the
appointing authority of the department in which he had permanent Civil Service status, be
restored to a position in that department in his former class, provided however, that if such
employee is not restored to a position, his name shall be placed on the appropriate layoff list.
15.042 - RESTORATION FOLLOWING REJECTION DURING PROBATIONARY
PERIOD. An employee with permanent Civil Service status in a class, who vacates a position in
that class to accept appointment from an eligible list and is rejected during the probationary
period in that position, shall have the right to be restored to a position in the class and department
in which he/she had status. If an employee refuses such restoration, he/she shall be separated
from City service following rejection. An employee so separated shall not have a right to
placement on a layoff list.
15.042-1 - Notwithstanding the above, an employee in the class of Police Officer Recruit who
does not pass probation as a Police Officer, will be terminated without any reinstatement rights
to Police Officer Recruit.
15.042-2 - Notwithstanding the above, an employee in the class of Youth Detention Counselor
Trainee who does not pass probation as a Youth Detention Counselor I, will be terminated
without any reinstatement rights to Youth Detention Counselor Trainee.
15.042-3 - Notwithstanding the above, an employee in the class of Social Work Intern who does
not pass probation as a Social Worker Trainee does not have any reinstatement rights to the class



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of Social Work Intern. The employee has the right to be restored to a position in the Department
of Human Services in the class in which he/she had status immediately prior to promotion to the
class of Social Work Intern.
15.043 - RESTORATION (VOLUNTARY) DURING THE PROBATIONARY PERIOD. An
employee appointed from an eligible list may, during the probationary period, upon his/her
request and with the approval of the appointing authority of the former position, be restored to
his/her former position or its equivalent. The appointing authority of the probationary position
may, depending upon the circumstances justifying the voluntary restoration, recommend that the
name of the restored probationer be either removed from or restored to the eligible list.


END OF REGULATION 15.
Philadelphia Civil Service Regulations
Transmittal no.331 (Feb-11-2013)




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                                          2. DEFINITIONS

The following words, terms or phrases as used in these Regulations, shall have the following
meanings, unless otherwise clearly indicated in the text:
2.01 - ADMINISTRATIVE BOARD
        a committee of the Mayor's Cabinet, as established by Charter provisions, consisting of
        the Mayor, as chairman, the Managing Director, and the Director of Finance.

2.02 - ALLOCATION
        the assignment of a position to a class.

2.03 - APPOINTING OFFICER or APPOINTING AUTHORITY
        signifies the employer, supervisor, officer, board, commission, division or department
        head empowered by law or ordinance, or by lawfully delegated authority, to make
        appointments to positions in the City service or, in cases where delegation is not
        prohibited by Charter or law, such other persons as may properly be designated or
        empowered to act.

2.04 - APPROPRIATE, RELATED ELIGIBLE LIST
        an eligible list used to make appointments in the absence of a list for a class in which a
        vacancy exists. (See Regulation 10.05).

2.05 - CHARTER
        The Philadelphia Home Rule Charter adopted April 17, 1951.

2.06 - CIVIL SERVICE
        includes all offices and positions of the City service except those specifically exempted
        under Article VII, Section 7-301 of the Charter.

2.07 - CLASS or CLASS OF POSITIONS
        one or more positions so nearly alike that the same descriptive title may be used to
        designate each of them, that the same qualifications are required for the proper
        performance of the duties pertaining to them, that the same examination may be used in
        selecting competent persons to fill them, and that the same pay range and wage schedule
        can be applied equitably to all employees in the class.

2.08 - CLASS SPECIFICATION
        a formal statement which is descriptive, but not restrictive, of a class, containing the title
        of the position, a general statement of the duties and responsibilities of, typical examples
        of the duties performed by, and the minimum acceptable employment requirements for
        employees therein.

2.09 - CLASSIFICATION PLAN
        an orderly plan under which positions, on the basis of duties and responsibilities, are
        grouped into classes, series and/or services and grades; each class designated by a
        descriptive title and defined by a class specification.

2.10 - COMMISSION


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       the Civil Service Commission of the City of Philadelphia.

2.11 - CONTINUOUS EXAMINATIONS (or CONTINUOUS TESTS)
        open competitive or promotional examinations for specified classes of positions held on a
        continuing basis without stipulated closing dates for filing of applications, permitting
        candidates to make application and to be administered such examinations on any day on
        which the test is given.

2.12 - DAY
        a calendar day.

2.13 - DEMOTION, INVOLUNTARY
        the reassignment of an employee with permanent Civil Service status, for just cause, from
        a position in one class to a position in another class for which a lower maximum rate of
        pay is prescribed.

2.14 - DEMOTION, VOLUNTARY
        the reassignment of an employee with permanent Civil Service status, except as specified
        in Regulation 17, with his or her consent, and the consent of the Director, from a position
        in one class to a position in another class for which a lower maximum rate of pay is
        prescribed.

2.15 - DEPARTMENTAL PROMOTIONAL EXAMINATION
        a promotional examination limited to permanent Civil Service employees of the
        department for which the examination is announced.

2.16 - DIRECTOR
        The Director of the Office of Human Resources of the City of Philadelphia.

2.17 - ELIGIBLE
        any person whose name is on an eligible list.

2.18 - ELIGIBLE LIST
        an employment list of persons in rank order who have successfully competed in an open
        competitive or promotional examination or have Civil Service status on an employment
        list through layoff, disability, reclassification of their positions, or consolidation or
        abolishment of a class of positions.

2.19 - EMERGENCY APPOINTMENT
        an appointment for not longer than thirty (30) days made without reference to an eligible
        list in order to meet an emergency situation or to prevent the serious impairment of public
        business.

2.20 - EMPLOYEE
        includes employee and officer in the Civil Service. The singular shall include the plural,
        the plural shall include the singular, and the masculine shall include the feminine.

2.21 - EQUIVALENT POSITION CHANGE


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       a reassignment of an employee from a position in one class to a position in a comparable
       class in the same salary range and having substantially the same minimum qualification
       requirements, skills, aptitudes or abilities.

2.22 - EXAMINATIONS
        all tests, taken together, that are used to determine the fitness of applicants for positions
        of any class.

2.23 - INTERDEPARTMENTAL PROMOTIONAL EXAMINATION
        a promotional examination open to permanent Civil Service employees of all departments
        who meet the announcement requirements.

2.24 - LAYOFF
        the removal of an employee from his position because of lack of work, lack of funds, or
        because of a change in departmental organization resulting in abolishment of one or more
        positions.

2.25 - LAYOFF LIST
        list of persons who have Civil Service status in a specific class of work, but who are not
        working in such class because of layoff or service-connected disability.

2.26 - OPEN COMPETITIVE LIST
        an eligible list of names of persons who have passed an open competitive examination for
        a particular class of position and whose names are ranked on the list in the order
        prescribed in these Regulations.

2.27 - OPEN COMPETITIVE EXAMINATION
        any examination open to all persons, whether employed by the City or not, who meet and
        comply with prescribed requirements for admission thereto.

2.28 - PAY PLAN
        a schedule of compensation rates established for the classes of positions included in the
        Classification Plan.


       2.281 - EXECUTIVE AND PROFESSIONAL PAY PLAN
       the pay schedule and classes assigned to that schedule used for classes which have been
       assigned to the District Council 47 bargaining unit.

       2.282 - MANDATORY PAY PLAN
       the pay schedule and classes assigned to that schedule used for classes which have been
       designated as Mandatory with respect to inclusion in the District Council 33 bargaining
       unit.

       2.283 - DEPUTY SHERIFF PAY PLAN
       the pay schedule used for the classes of Deputy Sheriff, Deputy Sheriff Officer, Deputy
       Sheriff Sergeant and Deputy Sheriff Lieutenant.



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       2.284 - N PAY PLAN
       the pay schedule used for classes assigned to Local 2186 of District Council 47 and for
       non-represented employees.

2.29 - PAY RANGE
        the minimum and maximum pay rates, together with the intermediate rates, if any,
        established for a class.

2.30 - PAY RANGE ADJUSTMENT
        any change in the rates of pay applicable to a pay range.

2.31 - PAY RANGE DETERMINATION
        the assignment of a class to a pay range.

2.32 - PAY RANGE REDETERMINATION
        assignment of a class to a different pay range, whether higher or lower, on the basis of a
        re-evaluation of pay factors appropriate to the class. (Pay Range Redeterminations do not
        result in a change in class title.)

2.33 - PERMANENT CIVIL SERVICE STATUS
        the rights and privileges granted to an employee who has successfully completed his
        probationary period following Civil Service test and certification.

2.34 - POSITION
        a group of duties and responsibilities assigned or delegated by competent authority,
        requiring the full or part-time employment of one person.

2.36 - PROBATIONARY PERIOD
        a working test period considered an integral part of the examination process during which
        a new appointee is required to demonstrate his fitness for the position to which he has
        been appointed by actual performance of the duties of the position. Persons appointed to
        positions as a result of open competitive or promotional examinations, or who are
        reinstated, must serve a probationary period.

2.37 - PROMOTION
        the advancement of an employee from a position of one class to a position of another
        class of higher rank involving more responsible duties and a higher pay range.

2.38 - PROMOTIONAL EXAMINATION
        a competitive examination limited to permanent Civil Service employees who meet the
        announced minimum requirements.

2.39 - PROMOTIONAL LIST
        an eligible list of names of persons who have passed a promotional examination for a
        particular class of position and whose names are ranked on the list in the order prescribed
        in these Regulations.

2.40 - PROVISIONAL APPOINTMENT


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       an appointment for not longer than ninety (90) days in any twelve month period, in the
       absence of an eligible list, of a person who meets the minimum qualifications for the
       class and who has not been qualified for City employment through the established
       examination and certification procedures.

2.41 - REALLOCATION
        a change in allocation of a position by assigning the position to a different class on the
        basis of a re-evaluation of, or changes and variations in the duties and responsibilities of
        the position. (Reallocation usually results in a different class title for the position.)

2.42 - RESTORATION
        the action by which an employee with permanent Civil Service status who has vacated his
        position to accept another position as a probationary or provisional appointee is returned
        to his vacated position following rejection during the probationary period or termination
        of the provisional appointment.

2.43 - SALARY ADJUSTMENT ANNIVERSARY DATE
        the date on which an employee may become eligible for an earned pay step increase.

2.44 - SEASONAL APPOINTMENT
        an appointment to a position requiring an incumbent only during certain parts of the year
        at recurring, annual or other periods.

2.45 - STANDARD INCREMENT
        the pay step differential obtained by subtracting the first step rate from the second step
        rate in a pay range.

2.46 - SUSPENSION
        an employee's temporary and involuntary separation from City employment for a
        disciplinary purpose or pending investigation of charges made against the employee.

2.47 - TEMPORARY APPOINTMENT
        an appointment for not longer than six months in any twelve (12) month period to a
        position established for a short limited period.

2.48 - TRANSFER
        a reassignment of an employee from one position to another position in the same class.

2.49 - WORK DAY
       shall be considered to be a period of eight (8) hours.

2.50 - FLEXIBLE WORK SCHEDULE
        an approved work schedule which permits the adjustment of the daily hours worked
        within a flexible band and specifies the minimum core work hours required per day.

2.51 - SELECTIVE FACTOR




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       a selective factor is a knowledge, skill or ability approved by the Civil Service
       Commission that is essential for satisfactory performance on the job and represents an
       addition to the basic standards for a position.

2.54 - PERFORMANCE-BASED COMPENSATION SYSTEM
        a compensation plan approved by the Civil Service Commission by which an employee's
        compensation and eligibility for increases are determined within formal performance
        guidelines and comparatio control.

2.55 - CAREER ADVANCEMENT LIST
        a departmental eligible list used for in-place promotion to a class within a career
        advancement series.

2.56 - CAREER ADVANCEMENT SERIES
        a designated class series, represented by District Council 47 or District Council 33, which
        includes an entry level, in some cases an intermediate level(s), and a full-performance
        level. Incumbents of such classes may be promoted in place within the series, as they
        gain experience and are able to perform assignments of increased difficulty, provided that

           1. the employee submits an application for Career Advancement,

           2. the employee has achieved an overall performance report of Satisfactory or better,
              on the performance report of record,

           3. time in grade requirements have been met,

           4. no disciplinary suspension of one day or greater has been initiated against the
              employee since the last performance report, and

           5. the employee is not on the Excessive Use of Sick Leave list.

       The employee will serve a probationary period in the Career Advancement class as
       required in the Civil Service Regulations. Career Advancement promotions shall be
       effective on the anniversary date of the employee's appointment in the first level class,
       provided, however, that Career Advancement promotions may be delayed by the City
       until the beginning of the fiscal year following that on which the appointments are
       required in the event that funding is unavailable to make the appointments, and provided
       that the date of appointment and remuneration for the appointment shall be retroactive to
       the effective date as defined herein. An employee whose application for Career
       Advancement is not received by the Personnel Department within three (3) months of the
       Career Advancement eligibility date will not be eligible for retroactive payment for the
       time period between the eligibility date and the date of the Career Advancement
       promotion.

2.57 - FLEXIBLE BENEFITS PLAN
        a benefits plan that permits non-represented employees to select health-welfare benefits
        from among a variety of specified options.



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2.58 - CAREER ADVANCEMENT SERIES / NON-REPRESENTED EMPLOYEES
        a designated class series in the non-represented category, which includes an entry level,
        in some cases an intermediate level(s) and a full-performance level. Incumbents of such
        classes may be promoted in place within the series as they gain experience, are able to
        perform assignments of increased difficulty and meet the criteria for non-represented
        career advancement recommended by the Personnel Director and approved by the Civil
        Service Commission.

2.59 - FURLOUGH
        placing an employee temporarily in a non-pay, non duty status because of lack of work or
        lack of funds or other non disciplinary reason as determined by the Finance Director.



END OF REGULATION 2.
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